                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )       COLLIER/CARTER
                                               )
         v.                                    )       CASE NO. 1:10-CR-75
                                               )
 ERNEST EUGENE FRADY                           )



                                   REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on December 6,

 2010. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

 One of the Indictment, conspiracy to manufacture five grams or more of methamphetamine

 (actual), a Schedule I controlled substance, in violation of 21 USC §§ 846, 841(a)(1) and

 841(b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find that the defendant is fully

 capable and competent to enter an informed plea; that the plea is made knowingly and with full

 understanding of each of the rights waived by defendant; that it is made voluntarily and free

 from any force, threats, or promises, apart from the promises in the plea agreement; that the

 defendant understands the nature of the charge and penalties provided by law; and that the plea

 has a sufficient basis in fact.

         I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the

 written plea agreement be accepted at the time of sentencing. I further recommend, based on a


                                                   1



Case 1:10-cr-00075-TRM-CHS             Document 368       Filed 12/06/10     Page 1 of 2      PageID
                                             #: 787
 finding of exceptional circumstances, that defendant shall remain on the same conditions of bond

 pending sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of

 the plea agreement, and imposition of sentence are specifically reserved for the district judge.

        The defendant’s sentencing date is scheduled for Friday, April 15, 2011, at 2:00 pm.



                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
 to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




                                                  2



Case 1:10-cr-00075-TRM-CHS           Document 368         Filed 12/06/10     Page 2 of 2      PageID
                                           #: 788
